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                             DEPARTMENT OF THE TREASURY
                                     INTERNAL REVENUE SERVICE
                                       WASHINGTON. D.C. 20224

                        ~ec~
                       FEB 7          D
                       'Ii     7   2011      Date: February 7, 2011
                                                                                 REDACTED
John M. Larson           711/4. Pc           Taxpayer Identification Number:                2112
Inmate No. 58201054                          Form: 1040
FCI La Tuna                                  Person to Contact: John W. Joseph
Federal Correctional Institution             Telephone Number: (303) 603-4756
Federal Satellite Low                        Employee I. D. Number: 1000227359
Post Office Box 6000
Anthony, Texas 88021                          Refer Reply To: John W. Joseph

                                              Last Date to File for Administrative Review:
                                               March 9, 2011



NOTICE OF JEOPARDY ASSESSMENT AND RIGHT OF APPEAL

Dear Mr. Larson:

Under section 6861 of the Internal Revenue Code, you are notified that I have found you
to be concealing and/or dissipating your assets thereby tending to prejudice or render
ineffectual collection of income tax for the taxable years 1998, 1999,2000 and 2001.

In particular our investigations have revealed:

You failed to report substantial amounts of income for taxable years 1998, 1999,2000
and 2001 earned from your tax shelter promotion activities.

You sheltered the income earned from these tax shelter promotions by engaging in a
series of abusive tax avoidance transactions similar to those described in Notice 2002-21
as custom adjustable rate debt, or CARD, shelters, basis shift shelters described in Notice
2001-45 as offshore portfolio investment strategy, or OPIS, foreign leveraged investment
program, or FLIP, and bond linked issue premium structures, or BLIPS, described in
Notice 2000-44 (see Exhibit I).

You moved the earnings you received beyond the reach of the U.S. government by
transferring money to foreign trust(s) located in Guernsey, Channel Islands.
You have not made any efforts to repatriate the funds currently deposited in foreign bank
accounts back to the United States in order to pay federal income taxes due and owing.



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Accordingly, as discussed in greater detail below, we believe that the assessment and
collection of your income tax deficiencies with respect to the 1998, 1999,2000, and 2001
tax years is in jeopardy under 1.R.C. § 6861.


1. FACTORS ESTABLISHING FLIGHT RISK

Mr. Larson is currently not a flight risk since he is incarcerated in a federal prison and is
expected to remain there for 9 years. 1 Although Mr. Larson has been imprisoned, his
assets are not physically constrained. In today's financial world, the movement of cash is
done electronically rather than physically. Mr. Larson has the means, knowledge, and
expertise to transfer assets to foreign accounts to keep them out of the reach of the
potential creditors and the United States Government. He has already shown that he is
capable of moving monies offshore. As stated by The Honorable Lewis A. Kaplan,
District Judge, during Larson's sentencing hearing that,

         " The defendant, given the relationship that was shown at trial with the
         Norwegians 2, I think quite possibly has access to substantial resources abroad in
         the hands of others. Certainly Mr. Larson has direct access. There are millions of
         dollars in the Converse Trust sitting on the Isle of Guemsey. He has the power



I   Larson, along with other defendants, was tried in a criminal case called "the largest criminal tax case in
American history," Stein v. KPMG. LLP, 486 F.3d 753 (2d Cir. 2007). On December 17,2008, following
trial, Larson was convicted of twelve counts of tax evasion under 26 U.S.C.§ 7201, stemming ITom his
involvement in the design, implementation, and marketing of tax shelters. Thejury, however, made no
findings regarding the amount of pecuniary loss caused or gain derived, by Larson through his crimes. On
April 1,2009, the district court conducted a sentencing hearing at which the judge found that Larson had
caused a "gross pecuniary loss (in) exce(ss) (of) $100 million and that the maximum fine therefore
exceeds ... $200 million." The district court subsequently fined Larson $6 million and sentenced him to 121
months imprisonment.
  Larson appealed the District Court's findings to the United States Court of Appeals for the Second Circuit
(Second Circuit). The Second Circuit ruled to sustain the conviction, but determined that the amount of the
fine, $6,000,000, was twice as large as was permitted by law. United States v. Pfaff, 619 F.3d 172 (2d Cir.
20 I 0). The conclusion of the Second Circuit was to V ACA TE Larson's fine and REMAND the case back
to the district court for further proceedings not inconsistent with this opinion.

2 The reference to "the Norwegians" refers to at least four foreign nationals and associates of Larson and
Pfaff, specifically Lars Christianson, Helge Vilhelmsen, Nils Hilstadt and Odd Ekholt. Lars Christianson
participated in the Son of Boss shelter in the years 1997 and 1998 with Larson and Pfaff. Helge Vilhelmsen
participated with Larson and Pfaff in the CARD shelter (Notice 2002-21) through his single member LLC -
Helminvest Resources established in May 1998. Helge Vilhelmsen and Nils Hilstadt participated in the
BLIPS/BLIPS-like transactions through their 100% ownership (prior to year 1997) in a C corporation,
Norwood (in 2000 Norwood changed its name to Norvest Ltd and Subsidiaries). In 1997 Pfaff and Larson
each obtained a 20% interest in Norwood. In January 200 I Pfaff, Larson, and their two Norwegian co-
owners, Helge Vilhelmsen and Nils Hilstadt, sold their stock in Norvest to Robles Enterprises, Inc. Thus
the ownership ofNorvest went off-shore. Odd Ekholt participated in the BLIPS/BLIPS-like transactions
through Andromeda Ventures Inc., which was owned by Robles Enterprises Inc., which was, in tum,
owned by Odd Ekholt.



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       under Article 1.2 of the trust instrument to designate the entire principal to go to,
       among other people, his sister Ann Mainor."

Mr. Larson is a sophisticated taxpayer. He had previously lived in London for many years
and had many overseas contacts. He has knowledge of international tax laws and the
ability to move assets off-shore quickly and efficiently. He has made contacts in other
countries and these contacts, as in the past, could be used to help him structure
transactions in order to move cash assets offshore.


II. F ACTORS ESTABLISHING CONCEALMENT OR TRANSFER OF ASSETS

It is the position ofthe Internal Revenue Service that Larson is or appears to be designing
to quickly place his property beyond the reach of the government either by removing it
from the United States, by concealing it, by dissipating it, or by transferring it to other
persons, under Treas. Reg. § 301.6861-1(a) and Treas. Reg. § 301.6851-1(a)(l)(ii).

       A. The Honorable Lewis A. Kaplan, District Judge, Sentencing Hearing
            Findings

During the sentencing hearing the Honorable Lewis A. Kaplan, District Judge found that
after the Internal Revenue Service issued Notice 2000-44, Larson took money earned
from his tax shelter activities and transferred it into the trusts located in Guernsey to put
them beyond the reach of the government and other creditors. Judge Kaplan indicated
that Larson "transferred millions of dollars to the Channel Islands trusts in the Island of
Guernsey after the IRS issued Notice 2000-44, and thus, when the handwriting was on
the wall that he was going to be facing at an absolute minimum a mass of civil litigation,
and quite likely a serious threat of criminal prosecution. This was a brazen act."
Moreover, Judge Kaplan stated: "If you transfer the money for the purpose of hindering
creditors, past, present or future, it's fraudulent."

Judge Kaplan found that Larson was a flight risk because he had two potential sources of
funds abroad: the Norwegian individuals, and the trusts (including the Converse Trust)
located in Guernsey. Judge Kaplan stated on the record at sentencing that he was
imposing a longer sentence on Larson than on another defendant, Robert Pfaff, in large
part because Larson sent his money abroad after Notice 2000-44 to hide it from potential
civil litigants suing him in connection with their failed tax shelters, but also because of
the criminal prosecution. This finding, in itself, should influence any court in the future
about the importance of Judge Kaplan's findings-resulting in not only incarceration
pending sentence, but also a longer jail sentence.

The judge also found that Larson engaged in concealment, that is, he engaged in
concealment of the true nature of the tax shelters that he promoted and sold.

The judge found that Larson earned "millions and millions of dollars" in his role as an
organizer and leader of the shelter transactions. The judge noted that Larson transferred



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"a substantial portion of the assets into the trusts ... after the issuance of Notice 2000-
44,"

Judge Kaplan reviewed the terms of Larson's trust documents for his trusts located in
Guernsey, and determined that Larson could direct transfers of money from his trusts, at
least to his relatives.

         B. Larson' Present Situation

              1. Larson's Filings of Personal Federal Income Tax Returns

Larson has filed personal federal income tax returns for the following years:
1998,1999,2000,2001,2002,2003,2004,2005,2006, 2007, 2008 and 2009.
Larson paid the taxes reported on the returns. However, Larson has significantly
underreported his income for the 1998, 1999, 2000, and 2001 years, and has not filed
amended returns, despite the fact that the transactions he engaged in are the tax shelters
for which he was convicted. Larson's personal federal income tax returns for the years
1998, 1999,2000 & 2001 are currently under audit and the subject of this jeopardy
assessment recommendation. Larson's personal federal income tax returns for the years
2002 through 2009 are not currently under audit.

              2. Concealment of Overseas Accounts

 Larson maintains control over at least one foreign trust containing large sums offunds
that he has not only concealed from creditors, including the Internal Revenue Service, but
also put beyond the reach of creditors. Trusts located in Guernsey include, but are not
limited to, the Converse, Traverse and/or Concorde Trusts.

The 2009 IRP (Information Return Program is a computer program used by IRS to match
amounts, including income, reported by payor/payee) information provided to the
Internal Revenue Service by Rothschild Bank International Limited indicates that Larson
has at least eight (8) accounts in various Rothschild financial institutions in three (3)
countries. The IRP documents report as follows:
     N M Rothschild & Sons-Jayland Services L, two (2) accounts, located in Country
     Code XV (Nunavut, Canada)
     N M Rothschild & Sons-Jayland Services located in XV
     Rothschild Bank International Limited located in XV
     Rothschild Bank International Limited located in XV
     Rothschild Bank Switzerland located in XV
     Rothschild Bank International Limited located in Country Code GK (Guernsey)
     Rothschild Bank International Limited located in Country Code GV (Republic of
     Guinea)




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Larson was assessed a penalty of $1 0,000 for failing to disclose to the Internal Revenue
Service his interest in foreign bank accounts in the 2006 year (referred to as an "FBAR
Penalty"), as he was required to do. This FBAR penalty is still unpaid.

Mr. Larson acknowledged his interests in foreign accounts and/or trusts in the Cayman
Islands on his 1997 personal income tax return and his interests in foreign accounts
and/or trusts in Guernsey, Channel Islands on his 2000 through 2005 personal income tax
returns.

            3. Ability to transfer assets

 It is the Internal Revenue Service's opinion that when Larson receives a refund of his
fine, which we believe will be approximately $3,000,000 based upon the findings of the
2nd Circuit, he may move these funds into trust accounts located overseas. Larson in the
past has moved large sums into his trust accounts overseas. Additionally, Larson has both
the knowledge and wherewithal to set up offshore entities and accounts, and to move (or
cause to be moved) the funds offshore either to a foreign individual, such as one of his
former partners or friends living in Norway, or into his foreign tax haven country trust
account. The funds would then be beyond the reach of creditors including the Internal
Revenue Service. The Internal Revenue Service bases this opinion upon information
supplied by Mr. Makov and Larson's past actions of moving money into trust accounts
on the Island of Guernsey for the stated reason of putting the money beyond the reach of
the U.S. government and creditors.

Other items considered by the Internal Revenue Service that support a finding that Larson
has the current ability and inclination to transfer assets beyond the reach of the U.S.
government are:

       1. Larson earned millions of dollars off the illegal activity (i.e., tax shelter
          promotions).
       2. Larson did not report all or the income he received from the illegal activity in
          the 1998-2001 years on his returns.
       3. Larson entered into abusive tax shelters, listed transactions, to reduce his
          personal income tax liability.
       4. Larson has been convicted ofthe illegal activity.
       5. Larson's counsel denied that Larson will have any tax liability from the tax
          shelters that he engaged in, and to date, Larson has not amended his earlier tax
          returns to reflect his unreported income.
       6. Larson has in the past moved large sums of money into offshore trust accounts,
          even when he knew that he may face liabilities in the U.S. from creditors,
          including the Internal Revenue Service. The judge deemed these acts to be
           "brazen".
        7. The fact that the foreign trust and bank accounts may still be open and he may
           be able send the money overseas, even while incarcerated.
        8. Larson has significant personal overseas contacts who may be able to help him
           put the money out of the reach of the Internal Revenue Service.



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      9. Larson has been paying his mortgage and property taxes on his New York City
          Condominium and, thus, appears to have sufficient assets to pay his expenses.
      10. Larson has not paid his assessed F-BAR penalty.

            4. Exigency

Larson is expected to receive shortly a repayment of approximately $3,000,000 of the
criminal fine that he paid upon his conviction.


III. FACTORS ESTABLISHING INSOLVENCY

At this time, the Internal Revenue Service has not established that Larson is insolvent.
However, the Internal Revenue Service believes that Larson may become insolvent, due
primarily to the fact that he has 14 civil lawsuits pending against him, and may face
additional lawsuits. A review of Larson's currently known financial information follows.

       A.ASSETS:

               I. Apartment in New York City:
                  VALUE $1,500,000 - $1,600,000; MORTGAGE $725,000

               2. District Court Fine Reimbursement: $3,000,000

               3. Mr. Larson reported in his 2009 Individual Federal Income Tax Retum
                  taxable and tax exempt interest income of $24,5 \3 and $78,924,
                  respectively, and ordinary dividends of$9,939 indicating that Mr.
                  Larson has financial investments.

       B. LIABILITIES:

               I. Assessments currently due and owing to the United States Department
                 of Treasury:
                       Larson currently owes the United States Department of the
                       Treasury $10,000 for failing to report to the Internal Revenue
                       Service on his 2006 Individual Federal Income Tax Return that
                       he had control over foreign bank accounts.

               2. Promoter Penalties:

                      Larson is currently under examination for promoter penalties. The
                      assessment of promoter penalties in the future against Larson will
                      result in a significant promoter penalty liability.

               3. Pending and Future Civil Law Suits




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                Larson's lawyer during the sentencing indicated that there are currently
                14 civil law suits pending against Mr. Larson seeking monetary
                settlements against him. In addition, there were 93 Strategic Investment
                Funds and 186 Investors in BUPS tax shelter sold by Presidio. Each
                investor is a pending civil law suit seeking monetary settlement against
                Mr. Larson.

              4. Other expenses

                      Quarterly property taxes              $2,000.00
                      Monthly incarceration charge          $2,076.83



      C. CONCLUSION:

              Based upon the above, it could be concluded that Mr. Larson is now or
              shortly will be insolvent.



Summary
      I. You have been found guilty of twelve counts of tax evasion under 26 USC §
         7201 and 18 USC § 2.

       2. You created trusts in foreign jurisdictions, namely, the Bailiwick of Guernsey.

       3. You transferred large sums of money into trusts located offshore after you
          learned of Notice 2000-44, which disallowed the tax benefits of the
          transactions you engaged in and thus alerted you to the possibility that you
          would face tax liabilities and creditors.

       4. You failed to report on your 1999 federal income tax return your foreign bank
          accounts to the Internal Revenue Service as required by law.

       5. You have failed to pay a penalty assessment of$IO,OOO made during the tax
          year 2006 for failure to report foreign bank accounts as required by law.

       6. The 2 nd Circuit Court of Appeals has upheld your conviction, but has
          determined that the $6,000,000 fine was in excess of what is permitted by law
          and the difference should be refunded to you.

       7. The Internal Revenue Service believes that you will put the refund amount of
          $3,000,000 beyond reach of the Internal Revenue Service.




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       8. You have significant contacts located overseas who may be able to provide
          assistance to you in moving and maintaining assets offshore.


The above stated facts thereby tend to jeopardize or prejudice or impede the collection of
income tax for the periods of December 31, 1998 through December 31, 2001, inclusive.
Accordingly, based on information available at this time, I have approved assessment of
tax and additional amounts determined to be due as reflected in the attached
computations:

Taxable Period                                  Interest

    1998                 $ 1,755,379.00       $1,905,412.10
    1999                   5,814,159.00        5,372,634.91
    2000                   2,161,275.00        1,641,508.20
    2001                 $ 1.250,626.00       $ 802,739.73
    Total                $10,981,439.00       $9,722,294.94

Under Section 7429 of the Internal Revenue Code, you are entitled to request
administrative and judicial reviews ofthis assessment action.

For an administrative review, you may file a written protest with the Director Field
Operations, West within 30 days from the date of this letter, requesting redetermination
of whether or not:
    1. the making of the jeopardy assessment is reasonable under the circumstances, and

    2. the amount so assessed or demanded as a result of the action is appropriate under
       the circumstances.

When feasible, a conference will be held on an expedite basis to consider your protest.
Your protest will be forwarded to the Regional Appeals Office where a conference will
be held.

If you submit new information or documentation for the first time at an Appeals
conference, the Appeals Office may request comment from the Director Field Operations,
West on such evidence or documents.

Enforced collection action may proceed during any administrative appeal process unless
arrangements are made regarding collection of the amount assessed. To make such
arrangements, please contact Revenue Officer Linda Y. Thomas at (914) 684-7181.

You may request a judicial review of this assessment by bringing a civil suit against the
United States in the U.S. District Court in the judicial district in which you reside, or in
which your principal office is located. However, in order to have this action reviewed by
the District Court, you must request administrative review within 30 days of the date of
this letter. Such suit must be filed within 90 days after the earlier of (1) the day that the



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Service notifies you of its decision on your request for administrative review, or (2) the
16th day after your request for administrative review wasmade. The Court will make an
early determination of the same points raised in your protest to determine whether the
making of the assessment is reasonable under the circumstances, and whether the amount
assessed or demanded is appropriate under the circumstances. The Court's determination
is final and not reviewable by any other court.

Appeal to the Courts in Case of Income, Estate, Gift and Certain Excise
Taxes

If an agreement is not reached with the Internal Revenue Service, a notice of deficiency is
required by law to be issued within 60 days from the date of jeopardy assessment made
under section 6861 ofthe Internal Revenue Code. You will then have 90 days (150 days
if outside the United States) from the date the notice is mailed to file a petition with the
United States Tax Court.

Appeal to Courts in Case of Other Taxes Assessed Under IRC 6862

Claim for credit or refund of taxes assessed under section 6862 of the Internal Revenue
Code may be filed in accordance with section 651 I (a) of the Code for administrative and
judicial review of the merits of the liability assessed. An administrative decision on the
claim may be appealed to the courts under the provisions of section 7422(a) of the Code.

If you have questions about this letter, you may call or write the office of the contact
person identified on the front of this letter. You also have the right to contact the office
of the Taxpayer Advocate. Taxpayer Advocate assistance is not a substitute for
established IRS procedures, and it cannot reverse legally correct tax determinations nor
extend the fixed time for you to request an administrative review or bring civil suit. The
Taxpayer Advocate can, however, see that a tax matter that may not have been resolved
through normal channels gets prompt and proper handling. If you want Taxpayer
Advocate assistance, call 1 (877) 777-4778.

Thank you for your cooperation.
                                             Sincerely,


                                              ~Nw ~
                                              Maria S. Hwang
                                              Director Field Operations, West




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                                       Exhibit I

Concorde Trust - foreign trust located in Guernsey.

Converse Trust - foreign trust located in Guernsey.

Hayes Street Management, Inc. (HSM) - formed during 1999 by John M. Larson
through JL Capital Trust, Robert A. Pfaff through RP Capital Trust and Pointe Du Hoc
IT, and David Amir Makov through DAM Rev. Trust. HSM was later known as HSM
Industries, Inc.

Helminvest Resources (HR) - formed by Helge Vilhelmsen, a foreign national during
1998.

JL Capital Company (JLCC) - sole-member LLC formed by JLCT during 1999.

JL Capital Trust (JLCT) - grantor trust formed by John M. Larson during 1999.

David Amir Makov (Makov) - partner in Presidio Growth.

Morley, Inc. - formed in 1999 by John M. Larson through JL Capital Trust, Robert A.
Pfaff through RP Capital Trust and RP Irrevocable Trust, and David Amir Makov
through D. Amir Makov Irrevocable Trust.

Morley ESOP - Morley's stock contributed with Morley and PAS LLC employees as
participants.

Norvest Ltd - see Norwood Holdings, Inc.

Norwegians - Odd Ekholt, Nils Hilstadt and Helge Vilhelmsen

Norwood Holdings, Inc. - formed by the merger of Mountain View Investment Co.
(owned by Nils Hilstadt and Helge Vilhelmsen, both Norwegian nationals) and Skandia
America, Inc. (owned by Helge Vilhelmsen). Became Norvest Ltd. during 2000.

Robert A. Pfaff (Pfaff) - former partner at KPMG. Formed, along with John M. Larson,
Presidio Advisors LLC, Presidio Financial Group and Prevad, Inc.

Presidio Advisors LLC - formed by Larson, Pfaff and Norwood during 1997.

Presidio Advisory Service, Inc. (PAS Inc.) - formed by Larson through JL Capital
Trust, Pfaff through RP Capital Trust and RP Irrevocable Trust, and Makov through D.
Arnir Makov Irrevocable Trust during 1999.

Presidio Advisory Services LLC (PAS LLC) - formed by Morley and PAS Inc.



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Presidio Capital Corporation (PCC) - formed by Larson through John Larson
Investment Trust, Pfaff through Robert Pfaff Investment Trust and Helminvest Resources
(HR) during 1998.

Presidio Financial Group LLC - formed by Prevad and Norwood during 1998.

Presidio Growth LLC - formed by Norwood and HSM during 1999.

Pres top Holdings LLC - formed by Larson through JL Investment Trust and Pfaff
through RP Investment Trust during 1997.



Prevad Acquisition Company (PAC) - incorporated during 1999 with Helge
Vilhelmsen as the owner of record.

Prevad, Inc. (dba Presidio Resources, Inc.) - Initially formed as an S Corporation
during 1998 by Larson through JL Capital Trust and Pfaff through RP Capital Trust and
converted to a C Corporation during 1999.

RP Capital Company (RPCC) - sole-member LLC formed by RPCT during 1999.


RP Capital Trust (RPCT) - grantor trust formed by Robert A. Pfaff during 1999.

Traverse Trust - foreign trust located in Guernsey.

Torpre, Inc. (Torpre) - formed by Larson through JL Investment Trust and Pfaff
through RP Investment Trust during 1997.




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            EXHIBIT 2
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                        This Product Contains sensitive Taxpayer Data
                                                                 Request Date: 03-07-2011
              Account Transcript                                Response Date: 03-07-2011
                                                            Tracking Number: 100093349090

   FORM NUMBER: 1040                              TAX PERIOD:   Dec.   31,   2001


   TAXPAYER IDENTIFICATION NUMBER:                              REDACTED
                                                                           112

   JOHN M LARSON
   66 LEONARD ST APT 5F
   NEW YORK, NY 10013-3478-562

   ««POWER OF ATTORNEY/TAX INFORMATION AUTHORIZATION (POA/TIA) ON FILE»»
                 --- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT ---

   ACCOUNT BALANCE:                                 2,053,365.73
   ACCRUED INTEREST:                                     4,746.21      AS OF: Mar.      21,   2011
   ACCRUED PENALTY:                                     12,506.26      AS OF; Mar.      21,   2011


   ACCOUNT BALANCE PLUS ACCRUALS
    (this is not a payoff amount):                  2,070,618.20


                ** INFORMATION FROM THE RETURN OR AS ADJUSTED **


   EXEMPTIONS:                                                  01
   FILING STATUS:                                          Single
   ADJUSTED GROSS INCOME:                           9,638,751.00
   TAXABLE INCOME:                                  9,053,489.00
   TAX PER RETURN:                                  2,162,772.00
   SE TAXABLE INCOME TAXPAYER:                                0.00
   SE TAXABLE INCOME SPOUSE:                                  0.00
    TOTAL SELF EMPLOYMENT TAX:                          118,750.00


    RETURN DUE DATE OR RETURN RECEIVED DATE (WHICHEVER IS LATER)                 Oct.   15,   2002
    PROCESSING DATE                                                              Nov. 25, 2002



   II                                    TRANSACTIONS                                                II
        CODE EXPLANATION OF TRANSACTION                 CYCLE     DATE                    AMOUNT

        150   Tax return filed                          20024608 11-25-2002 $2,162,772.00


                                                                                                               Page 1 of 2
Untitled             Case 3:11-cv-03093-WHA Document 1 Filed 06/23/11 Page 25 of 49        3/7/1112:48 PM


           89221-302-89615-2
    806    W-2 or 1099 withholding                           04-15-2002      -$4,650.00
    430    Estimated tax payment                             06-21-2001     -$35,000.00
    430    Estimated tax payment                             09-17-2001    -$850,000.00
    716    Credit you chose to transfer from prior           04-15-2001    -$145,406.04
           tax period
    716    Credit you chose to transfer from prior           12-03-2001         -$279.96
           tax period
    460    Extension of time to file ext. Date 08-           04-14-2002            $0.00
           15-2002
    670    payment                                           04-14-2002
                                                                           $2,900,000.00

    460    Extension of time to file ext. Date 10-           04-15-2002            $0.00
           15-2002
    176    penalty for not pre-paying tax            20024608 11-25-2002      $39,526.41
    836    Refund you chose to apply to next                  04-15-2002 $1,733,037.59
           year's taxes
    960    Appointed representative                           01-24-2003           $0.00
    420    Examination of tax return                          05-22-2003           $0.00
    960    Appointed representative                           06-15-2007           $0.00
    960    Appointed representative                           04-10-2009           $0.00
    560    IRS can assess tax until                           10-05-2010           $0.00
           12-31-2011
    300    Additional tax assessed by examination    20110908 03-14-2011           $0.00
           29247-440-10022-1
    300    Additional tax assessed by examination    20110908 02-07-2011 $1,250,626.00
           - jeopardy assessment
           29251-038-10003-1
     190   Interest charged for late payment         20110908 02-07-2011     $802,739.73


                       This Product Contains sensitive Taxpayer Data




                                                                                                Page 2 of 2
Untitled              Case 3:11-cv-03093-WHA Document 1 Filed 06/23/11 Page 26 of 49                 3/7/1112:48 PM




                        This Product Contains sensitive Taxpayer Data
                                                                Request Date; 03-07-2011
              Account Transcript                               Response Date; 03-07-2011
                                                           Tracking Number; 100093349090
   FORM NUMBER; 1040                              TAX PERIOD; Dec. 31, 2000

                                                             REDACTED
   TAXPAYER IDENTIFICATION NUMBER:                                      112

   JOHN M LARSON
   66 LEONARD ST APT 5F
   NEW YORK, NY 10013-3478-562

   ««POWER OF ATTORNEY/TAX INFORMATION AUTHORIZATION (POA/TIA) ON FILE»»
                 --- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT ---

   ACCOUNT BALANCE;                                 3,802,783.20
   ACCRUED INTEREST;                                    13,149.56    AS OF; Mar. 21, 2011
   ACCRUED PENALTY;                                     21,612.75    AS OF: Mar.     21, 2011


   ACCOUNT BALANCE PLUS ACCRUALS
   (this is not a payoff amount):                   3,837,545.51


                ** INFORMATION FROM THE RETURN OR AS ADJUSTED **


   EXEMPTIONS;                                                  01
   FILING STATUS;                                          Single
   ADJUSTED GROSS INCOME;                          11,086,886.00
   TAXABLE INCOME;                                 10,906,015.00
   TAX PER RETURN;                                  1,727,803.00
   SE TAXABLE INCOME TAXPAYER;                               0.00
   SE TAXABLE INCOME SPOUSE;                                 0.00
   TOTAL SELF EMPLOYMENT TAX;                                0.00


   RETURN DUE DATE OR RETURN RECEIVED DATE (WHICHEVER IS LATER)               Oct. 22, 2001
   PROCESSING DATE                                                            Nov.   26, 2001



   II                                    TRANSACTIONS                                           II
        CODE EXPLANATION OF TRANSACTION                 CYCLE    DATE                 AMOUNT

        150   Tax return filed                          20014608 11-26-2001 $1,727,803.00


                                                                                                          Page 1 of 2
Untitled             Case 3:11-cv-03093-WHA Document 1 Filed 06/23/11 Page 27 of 49        3/7/1112:48 PM


           89221-301-18132-1
    806    W-2 or 1099 withholding                           04-15-2001    -$122,844.00
    430    Estimated tax payment                             09-16-2000    -$175,000.00
    716    Credit you chose to transfer from prior           04-15-2000    -$175,365.04
           tax period
    430    Estimated tax payment                             01-14-2001    -$200,000.00
    460    Extension of time to file ext. Date 08-           04-15-2001            $0.00
           15-2001
    670    Payment                                           04-15-2001
                                                                           $1,200,000.00

    460    Extension of time to file ext. Date 10-           04-15-2001            $0.00
           15-2001
    836    Refund you chose to apply to next                 04-15-2001      $145,406.04
           year's taxes
    766    Tax relief credit                                  12-03-2001        -$300.00
    290    Additional tax assessed                   20014708 12-03-2001           $0.00
           89254-999-05099-1
    836    Refund you chose to apply to next                  12-03-2001         $279.96
           year's taxes
    846    Refund issued                                      12-03-2001          $20.04
    420    Examination of tax return                          04-04-2002           $0.00
    960    Appointed representative                           01-24-2003           $0.00
    960    Appointed representative                           06-15-2007           $0.00
    960    Appointed representative                           04-10-2009           $0.00
    560    IRS can assess tax until                           10-05-2010           $0.00
           12-31-2011
    300    Additional tax assessed by examination    20110908 03-14-2011           $0.00
           29247-440-10021-1
     300   Additional tax assessed by examination    20110908 02-07-2011 $2,161,275.00
           - jeopardy assessment
           29251-038-10002-1
     190   Interest charged for late payment         20110908 02-07-2011 $1,641,508.20


                       This Product Contains Sensitive Taxpayer Data




                                                                                                Page 2 of 2
Un~itlt"!d                Case 3:11-cv-03093-WHA Document 1 Filed 06/23/11 Page 28 of 49                                      3/7/1112:47 PM




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                                   This Product Contains sensitive Taxpayer Data
                                                                                      Request Date: 03-07-2011
               Account Transcript                                                    Response Date: 03-07-2011
                                                                                 Tracking Number: 100093349090
    FORM NUMBER: 1040                                                    TAX PERIOD: Dec. 31, 1999

                                                                                   REDACTED
    TAXPAYER IDENTIFICATION NUMBER:                                                             2112

    JOHN M LARSON
    66 LEONARD ST APT 5F
    NEW YORK, NY 10013-3478-562

    ««POWER OF ATTORNEY/TAX INFORMATION AUTHORIZATION (POA/TIA) ON FILE»»
                  --- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT ---

    ACCOUNT BALANCE:                                                     11,186,793.91
    ACCRUED INTEREST:                                                        38,655.11        AS OF: Mar. 21, 2011
    ACCRUED PENALTY:                                                         58,141.59        AS OF: Mar.   21,   2011


    ACCOUNT BALANCE PLUS ACCRUALS
    (this is not a payoff amount):                                       11,283,590.61


                 •• INFORMATION FROM THE RETURN OR AS ADJUSTED ••


    EXEMPTIONS:                                                                      01
    FILING STATUS:                                                               Single
    ADJUSTED GROSS INCOME:                                               17,962,901.00
    TAXABLE INCOME:                                                      17,816,078.00
    TAX PER RETURN:                                                          285,740.00
    SE TAXABLE INCOME TAXPAYER:                                                    0.00
    SE TAXABLE INCOME SPOUSE:                                                      0.00
    TOTAL SELF EMPLOYMENT TAX:                                                     0.00


    RETURN DUE DATE OR RETURN RECEIVED DATE (WHICHEVER IS LATER)                                       Oct. 13, 2000
    PROCESSING DATE                                                                                    Nov. 13, 2000



    II                                                        TRANSACTIONS                                               II
         CODE EXPLANATION OF TRANSACTION                                     CYCLE     DATE                  AMOUNT
         150   Tax return filed                                              20004408 11-13-2000         $285,740.00


                                                                                                                                   Page 1 of 2
Un-:itled             Case 3:11-cv-03093-WHA Document 1 Filed 06/23/11 Page 29 of 49       3/7/11 12:47 PM


            89221-288-81923-0
    806     W-2 or 1099 withholding                           04-15-2000    -$17,378.00
     430    Estimated tax payment                             04-19-1999    -$13,000.00
     430    Estimated tax payment                             06-21-1999    -$82,000.00
     430    Estimated tax payment                             09-15-1999    -$92,000.00
     716    credit you chose to transfer from prior           04-15-1999    -$26,007.00
            tax period
     430    Estimated tax payment                             01-18-2000    -$121,000.00
     460    Extension of time to file ext. Date 08-           04-15-2000           $0.00
            15-2000
     670    Payment                                           04-15-2000    -$110,000.00


     460    Extension of time to file ext. Date 10-           04-15-2000           $0.00
            15-2000
     176    Penalty for not pre-paying tax            20004408 11-13-2000        $279.96
     836    Refund you chose to apply to next                 04-15-2000     $175,365.04
            year's taxes
     420    Examination of tax return                         04-04-2002           $0.00
     960    Appointed representative                          01-24-2003           $0.00
     960    Appointed representative                           06-15-2007          $0.00
     960    Appointed representative                           04-10-2009          $0.00
     560    IRS can assess tax until                           10-05-2010          $0.00
            12-31-2011
     300    Additional tax assessed by examination    20110908 03-14-2011          $0.00
            29247-440-10020-1
     300    Additional tax assessed by examination    20110908 02-07-2011 $5,814,159.00
            - jeopardy assessment
            29251-038-10001-1
     190    Interest charged for late payment         2011090802-07-2011 $5,372,634.91


                        This Product Contains sensitive Taxpayer Data




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Untitled                      Case 3:11-cv-03093-WHA Document 1 Filed 06/23/11 Page 30 of 49                              3/7/1112:47 PM




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                                    This Product Contains Sensitive Taxpayer Data
                                                                                  Request Date: 03-07-2011
                   Account Transcript                                            Response Date: 03-07-2011
                                                                             Tracking Number: 100093349090
   FORM NUMBER: 1040                                                 TAX PERIOD: Dec. 31, 1998

                                                                               REDACTED
   TAXPAYER IDENTIFICATION NUMBER:                                                        2112

   JOHN M LARSON
   66 LEONARD ST APT 5F
   NEW YORK, NY 10013-3478-562

   ««POWER OF ATTORNEY/TAX INFORMATION AUTHORIZATION (POA/TIA) ON FILE»»
                      --- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT ---

   ACCOUNT BALANCE:                                                   3,660,791.10
   ACCRUED INTEREST:                                                     12,658.55    AS OF: Mar. 21, 2011
   ACCRUED PENALTY:                                                      17,553.79    AS OF: Mar.       21,   2011


   ACCOUNT BALANCE PLUS ACCRUALS
   (this is not a payoff amount):                                     3,691,003.44


                     ** INFORMATION FROM THE RETURN OR AS ADJUSTED **


   EXEMPTIONS:                                                                   01
   FILING STATUS:                                                           Single
   ADJUSTED GROSS INCOME:                                             5,646,968.00
   TAXABLE INCOME:                                                    5,632,571.00
   TAX PER RETURN:                                                       452,677.00
   SE TAXABLE INCOME TAXPAYER:                                                 0.00
   SE TAXABLE INCOME SPOUSE:                                                   0.00
   TOTAL SELF EMPLOYMENT TAX:                                                  0.00


   RETURN DUE DATE OR RETURN RECEIVED DATE (WHICHEVER IS LATER)                                  Oct.   18,   1999
   PROCESSING DATE                                                                               Nov.   22,   1999



   II                                                     TRANSACTIONS                                               II
        CODE EXPLANATION OF TRANSACTION                                  CYCLE    DATE                   AMOUNT
        150        Tax return filed                                      19994508 11-22-1999        $452,677.00


                                                                                                                               Page 1 of 2
Uniitled             Case 3:11-cv-03093-WHA Document 1 Filed 06/23/11 Page 31 of 49       3/7/Jl12:47 PM


           89221-291-31232-9
    806    W-2 or 1099 withholding                           04-15-1999        -$484.00
    430    Estimated tax payment                             04-16-1998    -$43,300.00
    430    Estimated tax payment                             06-18-1998     -$43,300.00
    430    Estimated tax payment                             09-21-1998     -$43,300.00
    430    Estimated tax payment                             01-17-1999     -$43,300.00
    460    Extension of time to file ext. Date 08-           04-15-1999           $0.00
           15-1999
    670    Payment                                           04-15-1999    -$305,000.00


    460    Extension of time to file ext. Date 10-           04-15-1999           $0.00
           15-1999
    836    Refund you chose to apply to next                 04-15-1999      $26,007.00
           year's taxes
    420    Examination of tax return                         04-04-2002           $0.00
    960    Appointed representative                          01-24-2003           $0.00
    520    Bankruptcy or other legal action filed            04-05-2005           $0.00
    960    Appointed representative                          06-15-2007           $0.00
    960    Appointed representative                          04-10-2009           $0.00
    560    IRS can assess tax until                          10-05-2010           $0.00
           12-31-2011
     300   Additional tax assessed by examination    20110908 03-14-2011          $0.00
           29247-440-10019-1
     300   Additional tax assessed by examination    20110908 02-07-2011 $1,755,379.00
           - jeopardy assessment
           29251-038-10000-1
     190   Interest charged for late payment         20110908 02-07-2011 $1,905,412.10


                       This Product Contains sensitive Taxpayer Data




                                                                                                Page 2 of 2
Case 3:11-cv-03093-WHA Document 1 Filed 06/23/11 Page 32 of 49




            EXHIBIT 3
               Case 3:11-cv-03093-WHA Document 1 Filed 06/23/11 Page 33 of 49
Internal Revenue Service                                                       Llepartment of the Treasury
210 E. POST ROAD
WHITE PLAINS. NY 10601




Date: 02/08/2011

                                                                       Taxpaver Identification Number:
                                                                   REDACTED
                                                                               2112
JOHN M LARSON                                                          Person to Contact:
66 LEONARD ST APT 5F                                                    LINDA Y. THOMAS
NEW YORK. NY 10013-3478                                                Contact Telephone Number:
                                                                        (914)684-7181
                                                                       Contact Fax Number:
                                                                        (914)684-7227
                                                                       Employee Identification Number:
                                                                        02-53865

                        NOTICE OF JEOPARDY LEVY AND RIGHT OF APPEAL



As required by Section 6331 of the Intemal Revenue Code (IRC). I am notifying you that I have found that
you may be concealing. dissipating or transferring assets overseas. thereby putting our collection of the
1040 tax you owe for the tax periods 12/31/1998; 1213111999: 12131/2000: 12131/2001 in jeopardy.
Therefore. based on the information available to me at this time. I have approved the issuance of a levy to
collect the amount you owe. although we have not provided you a notice of intent to levy and/or notice
of your right to a hearing. generally required by Sections 6630 and 6631 of the IRC.

The amount you owe is shown on the next page. The unpaid amount from prior notices may include tax.
penalties and interest you still owe. It also includes any credits and payments we have received since we
sent our last notice to you. Below is a brief explanation of the interest and/or failure to pay penalty that may
be included in the amount you owe:

Interest - Internal Revenue Code Section 6601
We charge interest when your tax is not paid on time. Interest is computed from the due date of your retum
(regardless of extensions) until paid in full or to the date of this notice. Interest is also charged on penalties
assessed on your account. Interest compounds daily except on underpaid estimated taxes for individuals or
corporations.

Paying Late -Internal Revenue Code Section 6651 (a)(2)
We charge a penalty when your tax is not paid on time. Initially. the penalty is Y:.% of the unpaid tax for
each month or part of a month the tax was not paid.

Under IRC Section 7429. you are entitled to request an administrative review of this action. For this review.
you must file a written protest with the Area Director at the above address with within 30 days from the date
of this letter. requesting a redetermination of whether the levy is reasonable under the circumstances.

Under IRC Section 7429. you may request a judicial review of whether the determination that collection is in
jeopardy is reasonable. by bringing a civil suit against the United States in the U.S. District Court in the
judicial district in which you live. or in which your principal office is located. However. if you filed a timely
petition with the Tax Court for a redetermination of a deficiency under IRC Section 6213(a) before we
served the levy. and at least one of the taxes for one period included on the levy is also included in that
petition. the Tax Court (in addition to the U.S. District Court) also has jurisdiction to review the levy for all tax

                                                                                           Letter 2439(CG) (5-2006)
              Case 3:11-cv-03093-WHA Document 1 Filed 06/23/11 Page 34 of 49

periods on the levy. You may1l1M request a judicial review under IRC Sl!etion 6330 after the COP hearing
as explained in the enclosed Publication 1660.

In order to receive a judicial review of the levy under IRC Section 7429, you must first request an
administrative review under that provision within 30 days from the date of this letter. You must file your suit
within 90 days after the earlier of (1) the day the Service notifies you of its decision on your protest, or (2)
the 16th day after you make the protest. The court will make an early determination of the same pOints
raised in your protest to decide whether the Service's determination that collection was in jeopardy was
reasonable under the circumstances. The court's determination is final and not reviewable by any other
court.

We may proceed with enforced collection action during any administrative review, unless you make
arrangements regarding collection of the amount you owe. To make such arrangements, or if you have
other questions about this letter, please contact LINDA Y. THOMAS at (914)684-7181.

                                                              Sincerelyy?urs,    ~
                                                              ~7~
                                                              Shahid A Babar
                                                              Acting Territory Manager

Enclosures:
 Publication 594
 Publication 1660
 IZIForm 12153
 o  Form 9423

You now owe:

        Tax Period                Tax              Penalty           Interest               Total
        12131/1998            $3,660,791.10                           $9,037.37           $3,669,828.47
        1213111999           $11,186,793.91                           $27,616.77         $11,214,410.68
        12131/2000            $3,802,783.20                            $9,387.91          $3,812,171.11
        12131/2001            $2,053,365.73                            $5,069.13          $2,058,434.86




                                                                                         Letter 2439(CG) (5-2006)
              Case 3:11-cv-03093-WHA Document 1 Filed 06/23/11 Page 35 of 49
Internal Revenue Service                                      Department of the Treasury
210 E. POST ROAD
WHITE PLAINS, NY 10601




                                                                     !.Mmr Date:
                                                                      02/11/2011
      Kevin A Planeggar                                              IRS Employee to Contact:
      1625 Broadway, Suite 770                                        LINDA Y. THOMAS
      Denver, CO 80202                                               Contact Telephone Number:
                                                                      (914)684-7181
                                                                     Employee Identification Number:
                                                                      02-53865




         We are sending you the enclosed material under the provisions of a power of attorney or
      other authorization you have on file with us. For your convenience, we have listed below the
      name(s) of the taxpayer(s) to whom this material relates.

          If you have any questions, please contact the person whose name and telephone number
      are shown above.




                                                         Sincerel~ yoursq,

                                                         ~ t)                      , ;~«« * •
                                                         LINDA Y. Ttc;MAS
                                                         REVENUE OFFICER




      Taxpayer(s), Name(s):
      JOHN M LARSON




                                                                                         Letter 937 (Rev. 8-2000)
                                                                                         Catalog Number: 30760X
                   Case 3:11-cv-03093-WHA Document 1 Filed 06/23/11 Page 36 of 49

                                                              Department of the Treasury -lntem7Revenue Service
                                                                             Notice ofLe
DATE: 02/0812011                                                                   TELEPHONE NUMBER
REPLY TO:     Internal Revenue Service                                             OF IRS OFFICE: (914)684-7181
              LINDA Y. THOMAS
              210 E. POST ROAD
              WHITE PLAINS, NY 10601                                               NAME AND ADDRESS OF TAXPAYER:
                                                                                   John M Larson
                                                                                   FCI La Tuna - Inmate No. 58201054
TO:    Clerk of the Court, Ruby Krajick                                            Federal Correctional Institution
       United States District Court for                                            Federal Satellite Low
        the Southern District of New York                                          PO Box 6000
       500 Pearl Street                                                            Anthony,    TX 88021
       New York, NY 10007
                                                                                                                  REDACTED
                                                                         LARS      IDENTIFYING NUMBER(S):                    2112



  Kind of Tax          Tax Period Ended           Unpaid Balance of Assessment             Statutory Additions                  Total
      1040                 12131/1998                                 $3.660.791.10                      $9,037.37               $3,669,828.47
      1040                 12131/1999                                $11,186,793.91                     $27,616.77              $11,214,410.68
      1040                 12131/2000                                  $3,802,783.20                     $9,387.91               $3,812,171.11
      1040                 12131/2001                                  $2,053,365.73                     $5,069.13               $2,058,434.86


                       DUPLICATE LEVY             WITH ADDITIONAL TAXPAYER              ADDRESS




THIS LEVY WON'T ATIACH FUNDS IN IRAs, SELF·EMPLOYED INDIVIDUALS' RETIREMENT                              Total
PLANS, OR ANY OTHER RETIREMENT PLANS IN YOUR POSSESSION OR CONTROL,                                      Amount               $20,754,845.12
UNLESS IT IS SIGNED IN THE BLOCK TO THE RIGHT. ================================ =>                       Due
We figured the Interest and late payment penalty to ....0,,3..1,,0,,9/..2,,0"'1,,1'-_____________

Although we have told you to pay the amount you owe, it is still not paid. This is your copy of a notice of levy we have sent to collect this
unpaid amount. We will send other levies if we don't get enough with this one,

                                        loans, and similar Institutions described in section 408(n) of the Internal Revenue Code must
                                            before sending It to us. They must Include the interest you earn during that time. Anyone
                                                money, property, credits, etc. that they have (or are already obligated folj when they

If you decide to pay the amount you owe now, please .IuJ.ng a guaranteed payment (cash, cashier's check, certified check, or money order) to the
nearest IRS office with this form, so we can tell the person who received this levy not to send us your money. Make checks and money
orders payable to United States Treasury. If you mail your payment instead of bringing it to us, we may not have time to stop the person
who received this levy from sending us your money.
If we have erroneously levied your bank account, we may reimburse you for the fees your bank charged you for handling the levy. You
must file a claim with the IRS on Form 8546 w~hin one year after the fees are charged.
If you have any questions, or want to arrange payment before other levies are issued, please call or write us. If you write to us, please
include your telephone number and the best time call.
Signature of Service Represe                                               Title
             I AB
Part 4-       For Taxpayer                                                                                         Form 668-A(ICS) (7-2002)
                               Case 3:11-cv-03093-WHA Document 1 Filed 06/23/11 Page 37 of 49
                                                                                                                                .-
                                                                          Excerpts from the Internal Revenue Code,
                                                                   ************
See. 6331. LEVY AND DISTRAINT.                                                                      Sec. 6343. AUTHORITY TO RELEASE lEVY AND RETURN PROPERTY.

   (b) Seizure and Sale of Property.-The term ~Ievy" as used in this title includes                   (a) Release of Levy and Notice of Release.-
the power of distraint and seizure by any means. Except as otherwise provided in
subsection (e), a levy shall extend only to property possessed and obligations                          (1) In generaL-Under regulations prescribed by the Secretary, the Secret~
existing at the time thereof. In any case in wnich the Secretary may levy upon                      shall release the le.... y upon all, or part of, the property or rights to property levi1~d
property Of rights to property, he may seize and sell such property or rights to                    upon and shall promptly notify the person upon whom such levy was made (if
property (whether real or personal, tangible or intangible).                                        any) that such levy has been released if-
   (e) Successive Seizures.-Whenever any property or right to property upon                                (A) the liability for which such lev¥ was made is satisfied or becomes
which levy has been made by virtue of subsection (8) is not sufficient to satisfy                   unenforceable by reason of lap'se of time,
the claim of the United States for which levy Is made, the Secretary may,                                    8) release of such levy Will facilitate the collection of such liability,
thereafter, and as often as may be necessary, proceed to levy in like manner
upon any other property liable to levy of the person against whom such claim                            1    C) the taxpayer has e.ntered into an agreement under section 6159 to
                                                                                                    satiSfy such liability by means of installment payments, unless such agreement
exists, until the amount due from him, together with all expenses, is fully paid.                   pro ....ides otherwise,
                                                                                                           (0) the Secretary has determined that such levy is creating an economic
Sec, 6332, SURRENDER OF PROPERTY SUBJECT TO LEVY.                                                   hardship due to the financial condition of the taxpayer. or
                                                                                                           (E) the fair market value of the property exceeds such liability and release of
    (a) Requirement.-Except as othelWise provided In this section, any person in                    the leY)' on a part of such property could be made without hindering the
possession of (or obligated with respect to) property or rights to property subject                 collection of such liability.
to levy upon which a levy has been made shall, upon demand of the Secretary,
surrender such property or rights (or discharge such obligation) 10 the Secretary,                  For purposes of subparagraph (C), the Secretary is not required to release
except such part of the property or rights as IS, at the time of such demand,                       such levy if such release would jeopardize the secured creditor status of the
subject to an attachment or execution under any judicial process.                                   Secretary.

   (b) Special rule for Life Insurance and Endowment Contracts                                           (2) Expedited determination on certain business property.-In the case of
                                                                                                    any tangible personal property essential in carrying on the trade or business
          (1) In generaL-A levy on an organization with respect to a life insurance or              of the taxpayer, the Secretary shall pro ....ide for an expedited determination
endowment contract issued by such organization shall, without necessity: for the                    under paragraph (1) if levy on such tangible personal property would prevent
surrender of the contract document, constlMe a demand by the Secretary for                          the taxpayer from carrying on such trade or business.
payment of the amount described in paragraph (2) and the exercise of the right of
the person against whom the tax.is assessed to the advance of such amount.                              (3) Subsequent levy.-The release of levy on any property under
Such organization shall pay over such amount 90 days after service of notice of                     paragraph (1) shall not pre .... ent any subsequent levy on such property.
le.... y. Such notice shall include a certification by the Secretary that a copy of such
notice has been mailed to the person against whom the tax is assessed at his                         (b) Return of Property.-Ifthe Secretary determines that property has been
last known address.                                                                                 wrongfully levied upon, it shall be lawful for the Secretary to retum-


                                                                                                        1~
                                                                                                           the specific property levied upon,
      (2) Satisfaction of levy.-Such levy shall be deemed to be satisfied if such                        2 an amount of money equal to the amount of money levied upon, or
organization pays over to the Secretary the amount which the person against                              3 an amount of money equal to the amount of money received by the
whom the tax is assessed could have had advanced to him by such organization                        Unite States from a sale of such property.
on the date prescribed in paragraph (1) for the satisfaction of such levy, increased
by the amount of any ad ....ance (including contractual interest thereon) made to                   Property may be returned at any time. An amount equal to the amount of money
such person on or after the date such organization had actual notice or                             levied upon or received from such sale may be returned at any time before the
knowledge (within the meaning of section 6323 (i)(1» of the existence of the lien                   expiration of 9 months from the date of such levy. For purposes of paragraph
with respect to which such levy is made, other than an advance (including                           (3), If property Is dedared purchased by the United States at a sale pursuant to
contractual interest thereon) made automatically to maintain sucn contract in                       section 6335(e) (relating to manner and conditions of sale), the United States
force under an agreement entered into before such organization had such notice                      shall be treated as having received an amount of money equal to the minimum
or knowledge.                                                                                       price determined pursuant to such section or (if larger) the amount received by
                                                                                                    the United States from the resale of such property.
      (3) Enforcement proceedings.-The satisfaction of a levy under paragraph (2)
shall be without prejudice to any civil action for the enforcement of any lien                       (d) Return of Property in Certain Cases.-


                                                                                                        I')
imposed by this litle with respect to such contract.                                                    if-
                                                                                                            any property has been levied upon, and
    (c) Special Rule for Banks.-Any bank (as defined in section 408(n» shall                             2) the Secretary determines that-
surrender (subject to an attachment or execution under judicial process) any                              (A) the levy on such property was premature or otherwise
deposits (including interest thereon) in such bank only after 21 days after service                       not in accordance with administrative procedures of the Secretary.
of levy.                                                                                                  (8) the taxpayer has entered into an agreement under section
                                                                                                          6159 to satisfy the tax liability for which the tevy was imposed
   (d) Enforcement of levy.                                                                               by means of installment payments, unless such agreement
                                                                                                          pro ....ides otherwise,
      (1) Extent of personalliability.-Ally person who fails or refuses to surrender                      (C) the return of such property will facilitate the collection of the tax
any property or rights to property, subject to levy, upon demand by the Secretary,                        liability, or
shall be liable in his own person and estate to the United States in a sum equal to                       (D) with the consent of the taxpayer or the National Taxpayer
the value of the property or rights not so surrendered, but not exceeding the                             Advocate, the return of such property would be in the best interests
amount of taxes for the collection of which such levy has been made, together                             of the taxpayer (as determined by the National Taxpayer Advocate)
with costs and interest on such sum at the underpayment rate established under                            and the United States,
section 6621 from the date of such levy (or, in the case of a levy described in
section 6331 (d)(3). from the date such person would otherwise have been                            the pro ....isions of subsection (b) shall apply in the same manner as if such
obligated to pay over such amounts to the taxpayer). Any amount (other than                         property had been wrongly levied upon. except that no interest shall be allowed
costs) reco .... ered under this paragraph shall be credited against the tax liability for          under subsection (c).
the collection of which such levy was made.
       (2) Penalty for violation.-In addition to the personal liability imposed by                                   *      *     *      *      *     *       * *         *      *
paragraph (1). if any person required to surrender property or rights to property
fails or refuses to surrender such property or rights to property without                           Applicable SecHons of Internal Revenue Code
reasonable cause, such person shall be liable for a penalty aqualto 50 percent of
the amount recoverable under paragraph (1). No part of such penalty shall be                        6321. LIEN FOR TAXES.
credited against the tax liability for the collection of which such levy was made.
                                                                                                    6322. PERIOD OF LIEN.
    (e) Effect of honoring levy.-Any person in possession of (or obligated with                     6325. RELEASE OF LIEN OR DISCHARGE OF PROPERTY.
respect to) property or rights to property subject to levy upon which a levy has                    6331. lEVY AND DISTRAINT.
been made who, upon demand by the Secretary, surrenders such property or
rights to property (or dischal"ges such obligation) to the Secretary (or who pays a                 8332, SURRENDER OF PROPERTY SUBJECT TO LEVY.
liability under subsection (d)(1», shall be discharged from any obligation or                       6333, PRODUCTION OF BOOKS,
liability to the delinquent taxpayer and any other person with respect to such                      6334, PROPERTY EXEMPT FROM LEVY.
property or rights to property arising from such surrender or payment.
                                                                                                    6343. AUTHORITY TO RELEASE LEVY AND RETURN PROPERTY.
Sec. 6333. PRODUCTION OF BOOKS.                                                                     7426. CIVIL ACTIONS BY PERSONS OTHER THAN TAXPAYERS.
                                                                                                    7429. REVIEW OF JEOPARDY LEVY OR ASSESSMENT PROCEDURES.
   If a levy has been made or is about to be made on any property, or right to
property, any person having custody or control of any bookS or records,                              For more Information about this notice, please call the phone number on
containing evidence or statements relating to the property or right to property                      the front of this form.
subject to levy, shall, upon demand of the Secretary, exhibit such books or
records to the Secretary.


                                                                                                                                                    Form   668-A(leS)          (1-2003)
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                                                               Department of the Treasury - Internal Revenue Service
                                                                               Notice of Le
                                                                                     TELEPHONE NUMBER
 REPLY TO:       Internal Revenue Service                                            OF IRS OFFICE: (914)684-7181
                 LINDA Y. THOMAS
                 210 E. POST ROAD
                 WHITE PLAINS, NY 10601                                              NAME AND ADDRESS OF TAXPAYER:
                                                                                     John,M Larson "
                                                                                     66 Leonard Street, Apt SF
 TO:     Clerk of the Court, Ruby Krajick                                            New York, NY 10013-3478
         United State District Court for the
               Southern District of New York
         500 Pearl Street
                                                                                                                       REDACTED
         New York, NY 10007                                                          IDENTIFYING NUMBER(S):                       2112
                                                                          LARS
 THIS ISN'T A BIU FOR TAXES YOU OWE. THIS IS A NOTICE OF LEVY WE ARE u...... TO COUECTMON£Y OWED BY THE TAXPA'II!It NAMED AIIOVEi,;:,;.",       ,., '; t· ,; ";i,I·"
                                                                                                                                            .
ATTACHED IS A DUPLICATE LEVY WITH ADDITIONAL TAXPAYER ADDRESS                                                           ,,',,"                             " ::'l<
  Kind of Tax   Tax Period Ended  Unpaid Balance of As ....ment Statutory Additions                                                 Total
        1040                 12131/1998                                  $3.660.791.10                     $9,037.37                 $3,669,828.47
        1040                 12131/1999                               $11,186,793.91                      $27,616.77                $11,214.410.68
        1040                 1213112000                                  $3,802.783.20                     $9.387.91                 $3,812,171.11
        1040                 1213112001                                  $2.053.365.73                     $5,089.13                 $2.058,434.86




 THIS LEVY WON'T ATIACH FUNDS IN 1RAt., SELF-EMPLOYED INOMDUAlS' RETIREMENT                               Total
 PLANS, OR ANY OTHER RETIREMENT PLANS IN YOUR POSSESStON OR CONTROL..                                     Amount                   $20,754,845.12
 UNLESS IT IS SIGNED IN THE BlOCK TO THE RIGHT. =======".===:11===                 =>                     Due
 We figured the Interest and late payment penaltY to ..lO~3u;/O!!i9i!!I2.!:!!:O.!.11.!...._ _ _ _ _ _ _ _ _ _ __

      The Internal Revenue Code provides that there is a lien for the amount that is owed. Although we have given the notice and demand
 required by the Code. the amount owed hasn' been paid. This levy requires you to tum over to us this person's property and rights to
 property (such as moneY. CffJdit•• and bank deposits) that you have or which you are already obHgated to pay this person. However, don' send
 us more than the "Total Amount Due:
      Money In banks, credit unions, savings and loans, and similar Institutions desctlb8d In section 408(n) of the Internal ,   .
 Revenue Code must ba heldJor 21Rlendaqlavs from the day you, _lYe "'Ie levy before you ....d us the money. Include any
                         Cluiliiil iIiii 21 cIaYii:-Tum over any other money, property, credItII, etc. _ you _
 Intere.t the person earns                                                                                       or _ already
 obligated to pay the _payer, when you would heve paid It If "'Ie person asked for payment                   "        .,       '

      Make a reasonable effort to Identify all property and rights to property balonglng to this person. At a minimum. seen:h your recon:Is
 using the taxpaye(s mime. address. and Identifying numbar(s) shown'on!his tonn. Don' offset money this person owes you without
 contacting us at the telephone numbar shown above for instructions. You may not subtract a processing fee from the amount you send us.
 To respond to this levy-
       1. Make your check or money order payable to Unltad Stat. . Treasury.
       2, Write the taxpaye(s name, identifying numbar(.). kind of tax and tax period shown on this fonn. and "LEVY PROCEEDS" on your
          check or money order (nol on a _ _ slub,).
       3. Complete the back of Part 3 of this form and mail it to us with your payment in the enclosed envelope.
       4. Keep Part 1 of this tonn for your records and give the taxpayer Part 2 within 2 days.
 If you don't owe any money to the taxpayer, pie      complete the back of Part 3, and mail !hat part back to us in the enclosed envelope.
                                                                            TrUe
                                                                            ACTINGTE
 Part   5-      IRS File Copy                       catalog No. 35389E      www.jrs.gov                                Form 668-A(ICS) (7-2002)




                                                                                    '.
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            EXHIBIT 4
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                                       MERRIAM LAW FIRM, P.C.
                                              ATTORNEYS AT LAW
TEO H. MERRIAM
                                           1625 BROADWAY, SUITE 770                             (303) 592-5404
KEVIN A. PLANEGGER*
                                           DENVER, COLORADO 80202                           Fax: (303) 592-5439
GARRET M. FRANCIS
                                                                                    Email: TMerriam@taxlaw.2S4S.com
·ALSO ADMITTED IN ARIZONA
                                                 March 9, 2011

                            VIA FACSIMILE (510-637-2619) and FEDERAL EXPRESS


         Maria S. Hwang, Director Field Operations, West
         Internal Revenue Service
         1301 Clay Street
         Oakland, CA 94612-5217
                                                REDACTED
                   Re:      John M. Larson, SSN:         2112
                            Appeal/Protest of Jeopardy Assessment and Levy

         Dear Ms. Hwang:

                We represent John M. Larson, and our Power of Attorney on Form 2848 is on tile
        with the Internal Revenue Service. Mr. Larson requests reconsideration by the IRS
        Appeals OCtlce of the extraordinary and unjustitied jeopardy assessment made on
        February 7, 2011 and the subsequent jeopardy levy issued 011 February 8, 2011. This
        appeal/protest is consolidated to address both the jeopardy assessment and levy. Mr.
        Larson further requests that this appeal/protest be heard at the IRS Appeals Office in
        Denver. Colorado so that his counsel has the opportunity for a face-to-face hearing.

        1.        Name, Address and Identifying Number of the Taxpayer

                  John M. Larson
                       REDACTED
                  SSN:          2112

              Mr. Larson is currently incarcerated at the federal correctional institution in
        Anthony, Texas. His mailing address is:

                  John M. Larson
                  Inmate Number: 58201054
                  Fe] La Tuna
                  Federal Correctional Institution
                  Federal Satellite Low
                  Post Omce Box 6000
                  Anthony, Texas 88021


        2.        O'lles of Notice of Jeopardy Assessment and Notice of Jeopardy Levy

                The Notice of Jeopardy Assessment and Right of Appeal is dated February 7,
        2011, anclthe contact person is John W. Joseph. A copy of the notice is enclosed for ease
        oi'refcrence. The last day to file for administrative review is March 9, 2011. The Notice
        of Jeopardy Levy and Right of' Appeal is dated February 8, 2011, and the contact person
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is Linda Y. Thomas. A copy of this notice is also enclosed for ease of reference. The last
day to file tor administrative review is March 10,2011.


3.      Statement of Desire to Appeal to the IRS Appeals Office

       John Larson desires to appeal both the Notice of Jeopardy Assessment made on
February 7, 2011 and the Notice of Jeopardy Levy issued on February 8, 2011, and
requests a face-to-face hearing with an IRS Appeals Officer in the IRS Appeals Office in
Denver, Colorado.


4.      Tax Periods/Y cars Involved

        The tax periods involved in this appeal/protest are the taxpayer's federal income
tax returns (Form 1040) for the years ending December 31,1998; December 31,1999;
December 31, 2000; and December 31, 2001.


5.      Summarv of Argument

        The government's extraordinary action to proceed with a jeopardy assessment
against John Larson on February 7, 2011 and a subsequent jeopardy levy on February 8,
2011 was not justified by the facts and circumstances of this case. Pursuant to Section
7429 of the Internal Revenue Code, the taxpayer has a right to administrative review of
the jeopardy action to determine whether (1) the making of the assessment was
reasonable; (2) the amount assessed was appropriate under the circumstances; and (3)
whether the levy (seizure) was reasonable under the circumstances. The assessment/levy
action will be deemed reasonable only if the government establishes that (1) the taxpayer
is a night risk; or (2) the taxpayer is or appears to be designing to place property beyond
the reach orthe government; or (3) the taxpayer's financial solvency appears to be
imperi led (without consideration of the jeopardy assessment at issue).

          In this case, the government cannot meet its burden of proof to establish that any
of the above listed criteria is present, and the jeopardy assessment is not justified. Mr.
Larson is not a flight risk; he is currently incarcerated in federal prison. Mr. Larson has
nol concealed or transferred assets, and he disputes and is currently litigating (or intends
to Ii ligate) the federal income tax liabilities that the Internal Revenue Service alleges that
he owes for the 1998 through 2001 tax years. Mr. Larson is also not currently insolvent,
and his solvency is not imperiled. Finally, the amount of the assessment in this case (a
total orover $20,000,000 for lhe four tax years, 1998 through 2001) is not reasonable
under the circumstances; and the government's adjustments to income consist primarily
of timing c1itTerences (income reported in subsequent years) and issues that are currently
being litigated in TEFRA proceedings.
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6.      Statement of Facts

         Former KPMG Senior Manager John Larson was one of hundreds of participants
in the design, sale, and execution ofKPMG's tax minimization practice in the late
1990's. While at KPMG, he participated in the initial design ofthe "FLIP" al1d "OPIS"
transactions and, after starting (with co-defendant Robert Pfaff) a small investment firm
called Presidio Advisors, he worked closely on the design and implementation of the
"BLIPS" transaction. Mr. Larson was among nineteen individuals involved with
KPMG's tax practice who were charged by federal prosecutors with a tax evasion
conspiracy related to the creation of KPMG products, their use by more than 500 KPMG
clients, and KPMG's alleged obstruction ofIRS and Senate investigations.

        Most of the KPMG defendants were dismissed before trial when the district court
(in a decision affirmed by the Second Circuit Court of Appeals) held that the prosecution
unconstitutionally interfered with their Sixth Amendment right to counsel by coercing
KPMG to abandon its longstanding policy of paying the legal expenses for employees
and former employees related to their work at KPMG. The district court arbitrarily
denied Mr. Larson the beneJlt of that ruling by finding that it was "less clear" that KPMG
would have paid his fees because a "majority" of the conduct charged against him
occurred after he left the firm.

        Mr. Larson ultimately stood trial with three other defendants. The trial began on
October 14,2008 and lasted ten weeks. On December 17,2008, the jury acquitted Mr.
Larson on the conspiracy charge that dominated the presentation of evidence, and of all
counts related to "FLIP" and "OPIS," but returned a.general verdict convicting him of
twelve counts of tax evasion for his role in "BLIPS." On April I, 2009, Mr. Larson was
sentenced to 121 months of imprisonment and was immediately remanded into custody.
The district court also imposed a tine of $6,000,000, which Mr. Larson timely paid.

        Mr. Larson appealed his conviction and fine to the Second Circuit Court of
Appeals. On August 27,2010, the appellate court issued a published opinion ruling that
the fine the district court had imposed was twice as large as was permitted by law and
that the maximum fine is $3,000,000. The court simultaneously aftlrmed the conviction
and remainder of Mr. Larson's sentence in a separate, unpublished summary order. Mr.
Larson moved for rehearing en banco That petition was denied on November 23,2010.
Mr. Larson tiled a Petition for Writ of Certiorari in the United States Supreme Court on
February 23, 2011 to further appeal his conviction. With respect to the Jlne, the case was
remanded to the district court for further proceedings not inconsistent with the Second
Circuit's ruling. The district court has not taken any further action in the remanded
proceedings as of the date of this appeal/protest.

         The Internal Revenue Service began an audit of Me. Larson's federal income tax
returns in approximately 2002. Mr. Larson's 1998 tax return and multiple, subsequently
filed returns are currently under audit. At the request of the Internal Revenue Service,
Mr. Larson has annually signed Forms 872 to voluntarily extend the general three-year
statute of limitations on the assessment of additional tax. The Internal Revenue Service's
revenue agent repeatedly communicated with Mr. Larson's counsel and conJlrmed that
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this audit ofpersonal tax returns (Forms 1040) remained on hold while his criminal case
and subsequent appeals were litigated in the courts.

         In addition to the pending/current audit, Mr. Larson's income tax liabilities are
also at issue in two TEFRA proceedings currently being litigated in the United States
Court of Federal Claims: Prestop Holdings, LLC v. United States (Docket number: 05-
576) and Presidio Advisors, LLC v. United States (Docket number: 05-411). These cases
involve transactions with resulting tax losses (to Mr. Larson's grantor trust) that have
been denied by the examination division of the Internal Revenue Service. The cases were
stayed pending the outcome of the criminal case, but have now been returned to the
active docket and are in the discovery stage.

        On February 7, 20 II, without warning to either Mr. Larson or his counsel, the
Internal Revenue Service proceeded to assess the following amounts of tax and interest
against Mr. Larson for the 1998 through 2001 tax years:

               Tax Year              Tax              Interest

                 1998             $1,755,379        $1,905,412
                 1999             $5,814,159        $5,372,635
                 2001             $2,161,275        $1,641,508
                 2002             $1,250,626        $ 802,740

On the same day. [he Service issued a Notice of Jeopardy Assessment and Right to
Appeal to Mr. Larson. The total balance for these four tax years, with additional penalty
and interest calculated through March 21,2011, is $20,882,757.

        On February 8, 2011, again, with no prior warning or consultation, Revenue
Officer Linda Thomas served a notice of levy on the United States District Court for the
Southern District of New York with the intention of seizing the imminent $3,000,000
retlmd of the excessive criminal fine previously paid by Mr. Larson. Ms. Thomas also
issued a Notice of Jeopardy Levy and Right to Appeal to Mr. Larson on February 8, 201 J.


7_     Legal Authority and Legal Analvsis

                                   A. Legal Authority

         Sections 6861 and 6862 of the Internal Revenue Code provide the Internal
Revenue Service with special authority to assess and collect income taxes (and other
taxes) in cases where tbe routine method of tax collection may be rendered ineffective or
';jeopal"dized" if collection efforts are delayed. Ajeopardy assessment is proper if the
government reasonably believes that l"i.mds will be placed beyond its reach. The
characteristic common to all jeopardy assessments is a determination that collection will
be endangered irregular assessment procedures are followed. State of Florida v. United
States, 891 r.2d 480 (S.D. Fla. 1989). If the Internal Revenue Service determines that
the collection of tax is in jeopardy, an assessment may be made pursuant to the
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aforementioned code sections. In such a situation, the Internal Revenue Service is
authorized to determine immediately the amount of tax due, immediately demand
payment, and immediately levy upon the taxpayer's property. Nolan v. United States,
539 F.Supp. 788 (D. Ariz. 1982).

        Given the sweeping authority given to the Internal Revenue Service under the
jeopardy assessment provisions of the Code and because of the possibility of harsh resuils
in a particular case, Congress enacted section 7429 in 1976 to provide for expeditious
administrative and judicial review of government action. Because an inappropriate
jeopardy assessment could in some cases cause the taxpayer "undue hardship," Congress
enacted section 7429 to provide a form of judicial review of such assessment actions.
Snyder v. United States, 757 F.2d 107l (D. Md. 1984) (citing S. Rep. No. 94-938, 94 th
Cong., 2d Sess. 363).

        Section 7429 provides for expedited administrative and judicial review to
determine the reasonableness of the jeopardy assessment/levy and the appropriateness of
the amount assessed. Snyder. The taxpayer is first entitled to an administrative review of
the reasonableness of the jeopardy actions. 26 U.S.c. §7429(a). After exhausting his or
her administrative remedies, the taxpayer may challenge the reasonableness of the
jeopardy assessment and levy in federal district court. 26 U.S.C. §7429(b)(1)(B).
Proceedings under section 7429 are summary in nature, and are limited to two questions:
(1) whether the jeopardy assessment is reasonable under the circumstances, and (2)
whether the amount assessed is appropriate. Magluta v. United States, 952 F.Supp. 798
(S.D. Fla. 1996); 'young v. United States, 671 F. Supp. 1340 (S.D. Fla. 1987). The
court's determination is final and cmIDot be reviewed on appeal by any court. 26 U.S.C.
§7429(f).

        Under Section 7429(g)( 1), the goverrnnent bem's the burden of demonstrating that
the jeopardy assessment is reasonable under the circumstances. The IRS, not the
taxpayer, bears the burden of proof on the reasonableness of the assessments. Hiley v.
United States, 807 F.2d 623 (7th Cir.1986). "Reasonable under the circumstances"
means something more than "not arbitrary or capricious" and something less than
"supported by substantial evidence." Wellek v. United States, 324 F. Supp. 2d. 140
(N.D. 111. 2004). The general test for reviewing the reasonableness of an assessment
involves an inquiry into whether: (1) the taxpayer is or appears to be designing to leave
the United States or to conceal him or herself, (2) the taxpayer is or appears to be
designing to hide, transfer, conceal, or dissipate his or her assets, or (3) the taxpayer's
tinancial solvency appears to be imperiled. Nolan v. United States, 539 F.Supp. 788
(O.c. Ariz. 1982). Ifany of the above conditions are met, the jeopardy assessment is
reasonable. Id.

       In addition to the aforementioned general factors for determining the
reasonableness of a jeopardy assessment, courts may and should consider any other
appropriate factors. Wellele Among the other factors courts will consider are: (1)
possession of, or dealing in, large amounts of cash, (2) prior tax returns reporting little or
no income despite the taxpayer possessing large amoimts of cash, (3) dissipation of assets
through forfeiture, expenditures for attorneys' fees, appearance bonds, and other
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expenses, (4) a lack of assets from which potential tax liability can be collected, (5) the
use of aliases making it difficult to locate either the taxpayer or any of his assets, and (6)
failure to supply appropriate tlnancial information when requested. Mesher v. United
States. 736 F.Supp. 233 (D.C. Or. 1990). The government also bears the burden of
demonstrating the reasonableness of the jeopardy levy. 26 U.S.C. § 7429(g)(1). The
standards for determining the reasonableness of a jeopardy levy are the same as those for
ajeopardy assessment. 26 U.S.c. §7429(b)(3)(B); Henderson v. United States, 949
F.Supp. 473 (N.D. Tex. 1996).

         The district court is not required to determine the amounts of the tax liabilities
assessed against the taxpayer were accurate; the issue is whether the amounts are
appropriate under the circumstances. 26 U.S.C. §7429(g); Wellek. The amounts
assessed by the Internal Revenue Service are presumed to be reasonable and appropriate.
Wellek. The taxpayer bears the burden of proof regarding the appropriateness of the
amounts assessed. Id. The district court proceeding under Section 7429 "is unrelated,
substantively and procedurally, to any subsequent proceeding to determine the correct tax
liability .... " Wellek. Accordingly, the district court should not review the assessment
and levy as a trial on the ultimate merits of the tax liabilities. Id. The correct tax
liabilities must be determined in a subsequent proceeding brought by the taxpayer in the
Tax Court, Claims Court, or a United States District Court.

                                B. Legal and Factual Analysis

        I. Jeopardy Assessment/levy

         The jeopardy assessment made against John Larson on February 7, 2011 and the
subsequent levy of February 8, 2011 are egregious and unwarranted acts by the Internal
Revenue Service that are not supported by the facts and circumstances of this case.
Again, the government has the burden of proof to establish that its assessment and levy
action was reasonable. In the February 7, 2011, the Notice of Jeopardy Assessment and
Right to Appeal, the Service claims that it has "found" Mr. Larson to be concealing
and/or dissipating assets thereby tending to prejudice or render ineffectual collection of
incomc tax for the 1998, 1999,2000 and 2001 tax years. The government cites no facts
in support of its "finding," because none exists. (Nor has the government explained how
it made this "finding" almost two years after Mr. Larson was incarcerated, but shortly
after his en banc petition was denied and it was clear that Mr. Larson would be refunded
his $3 million.) Contrary to the government's unfounded suggestion, Mr. Larson has
been open with the government about his assets and has neither concealed nor dissipated
them. There is no factual basis to justify the Service's extraordinary action in this case.

       As set forth above, the general test for reviewing the reasonableness of an
assessment involves an inquiry into whether: (I) the taxpayer is or appears to be
designing to leave the United States or to conceal him or herself, (2) the taxpayer is or
appears to be designing to hide, transfer, conceal, or dissipate his or her assets, or (3) the
taxpayer's tlnancial solvency appears to be imperiled.
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         Mr. Larson is currently incarcerated at the federal correctional institution (FCI La
Tuna) in Anthony, Texas, and he will remain incarcerated for the next 8 years unless his
conviction is overturned. Accordingly, there is no rational argument that Mr. Larson is a
flight risk or that he is "designing to leave the United States or to conceal himself."

        The Service contends that the jeopardy assessment/levy is justified because Mr.
Larson is or appears to be designing to quickly place his property beyond the reach of the
government either by removing it from the country, or by concealing it, by dissipating it
or by transferring it to other persons. No such concealment/dissipation has occurred or is
contemplated, and there is no evidence of any such concealment/dissipation. Mr. Larson
has consistently filed all necessary disclosure forms for foreign trusts and/or foreign bank
accounts. He has not concealed assets, and he has directly informed the Internal Revenue
Service/United States Treasury, and the district court, of all foreign interests.

        The only remaining rationale for a jeopardy assessment and/or levy is that tl1e
taxpayer is insolvent or that solvency is imperiled. That is not the case here. Mr. Larson
has substantial assets and he is entitled to receive a $3,000,000 refund from the district
court following the excessive fine ruling by the Second Circuit Court of Appeals. His
only significant liability is the mortgage on his New York City apartment, and the value
of the apartment exceeds the mortgage by at least $750,000 according the Service's
valuation. The Notice of Jeopardy Assessment lists several other liabilities, including a
$10,000 penalty for failing to report control over a foreign bank account. Mr. Larson was
not aware of the penalty assessment, and he is reviewing returns to determine whether
this penalty should be abated. Mr. Larson did file a so-called FBAR form for the 2006
tax year.

        Other factors cited by courts to consider in determining the reasonableness of a
jeopardy assessment provide further support for a finding that the Internal Revenue
Service did not act reasonably in this case. First, Mr. Larson was not involved in a
business venture/activity that generated significant amounts of cash. Second, his prior
tax returns (1998 - 2001) reported high levels of income; the primary audit dispute with
the Internal Revenue Service relates to disallowed losses/deductions. Third, there has no
dissipation of assets through forfeiture; Mr. LaTson has made expenditures for attorneys'
fees, but he has the right to defend himself. Even though taxpayers have a potential
outstanding tax liability, they have the right to continue paying living expenses, and
attorney's and accountant's fees. McWilliams v. Commissioner, 103 T.e. 416 (1994).
Fourth, as set forth above, Mr. Larson remains solvent and he maintains assets from
which the potential tax liability can be collected. Fifth, Mr. Larson has not used aliases
making it dilJicull to locate either the taxpayer or any of his assets. Again, he is
incarcerated in federal prison. The government knows exactly where he is, as he is in its
custody. Finally, he has not failed to supply appropriate financial information when
requested. He disclosed all assets and liabilities during the sentencing phase of his
criminal trial. All of these court-cited factors weigh in favor of a finding that the
government's jeopardy assessment and levy action was not justified in this case.
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        2. Amount of the Assessment

        The government alleges that Mr. Larson has "significantly" underreported his
income for the 1998, 1999,2000 and 2001 tax years. Pursuant to the Notice of Jeopardy
Assessment, the Service has assessed tax and interest totaling over $20,000,000 over the
course of the four tax years at issue. The alleged adjustments to income proposed by IRS
include partnership adjustments that are currently (and appropriately) being litigated in
the Federal Claims Court. These items must be litigated at the partnership level pursuant
to TEFRA; it is premature and inappropriate to make these proposed adjustments directly
to Mr. Larson's return. Furthermore, the alleged adjustments also include income items
that were correctly reported by Mr. Larson on his federal income tax returns for
subsequent years. Even assuming that all disputed factual and legal issues are ultimately
decided in the government's favor, the Service's $20,000,000 assessment is wildly
inflated and ignores subsequent correlative adjustments that would be necessary to avoid
double taxation.

       3. Concl usion

        The government cannot meet its blU'den of proof to establish that the jeopardy
assessment is justified in this case. Mr. Larson is not a flight risk; he has not concealed
or transferred assets, and he is not insolvent. We request that the IRS Appeals Office
abate this assessments made against Mr. Larson on February 7, 2011 and void the levy
issued to the United States District COlU't for the Southern District of New York on
IOebruary 8, 2011. The alleged adjustments to income for the 1998, 1999,2000, and 2001
tax years are outrageously inflated, and Mr. Larson should be allowed to litigate these
issues without the threat of continued enforced collection action.


8,     Declaration

       Upon penalties of peljlU'Y, I declare that I prepared the foregoing AppeallProtest based
upon facts and information supplied to me by the taxpayer and by the Internal Revenue
Service, and to the best of my knowledge and belief, all facts are true, correct and complete.

                                              Sincerely yours,



                                          Ted H. Merriam
THM
Enclosures
ec: John M. Larson
    John Joseph, IRS Territory Manager, Western Area Technical Services (via fax)
    Linda Y. Thomas, IRS Revenue Oftlcer (via fax)
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            EXHIBIT 5
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